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Kyle Lydell Canty

77 S WASHINGTON STREET

_ SEATTLE, WA 98104

 

   

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"UNITED STATES DISTRICT COURT -
: WESTERN: DISTRICT OF WASHINGTON -
AT: SEATTLE |

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to : | ORDER DECLINING TO SERV

|IKING COUNTY, etal, == =~: |. AMENDED COMPLAINT AND
a  .._. GRANTING LEAVE TO FILE SECOND :
Defendants. = | AMENDED COMPLAINT

is civil neh action Sn brought under 42 U.S.C. 8 1983. Plaintiff rye Canty
le he was 2s confined at the King County. J ail where hes was waitin,

on hare es of on harassment and assault in 1 the third

|| ORDER DECLINING TO SERVE AMENDED -
|COMPLAINT AND GRANTINGLEAVETO
| FILE SECOND AMENDED COMPLAINT - |

 
